  Case 2:08-cr-20117-JWL        Document 142          Filed 06/03/11   Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff/Respondent,        )
                                                  )
              v.                                  )        Case No. 08-20117
                                                  )                 10-2366
GREGORY D. JORDAN,                                )
                                                  )
                     Defendant/Petitioner.        )
                                                  )



                          MEMORANDUM AND ORDER

       In 2009, Defendant Gregory D. Jordan pleaded guilty to conspiracy to possess

with intent to distribute five kilograms or more of cocaine. He was sentenced to 168

months in prison. Mr. Jordan then filed a § 2255 petition to vacate his sentence, which

this court dismissed (doc. 134) in light of the waiver contained in Mr. Jordan’s plea

agreement. Mr. Jordan has now filed a motion to reconsider that denial (doc. 135).

       A motion asking the court to reconsider a previous ruling shall be based on (1)

an intervening change in controlling law, (2) the availability of new evidence, or (3) the

need to correct clear error or prevent manifest injustice. Servants of the Paraclete v.

Does, 204 F.3d 1005, 1012 (10th Cir. 2000); see also Phelps v. Hamilton, 122 F.3d

1309, 1323 (10th Cir. 1997) (“A Rule 59(e) motion to alter or amend the judgment

should be granted ‘only to correct manifest errors of law or to present newly discovered

evidence.’”) (quotation and internal quotation marks omitted). Thus, a motion for
  Case 2:08-cr-20117-JWL         Document 142       Filed 06/03/11     Page 2 of 3




reconsideration is appropriate where the court has misapprehended the facts, a party’s

position, or the controlling law. Id. at 1012.

       For the most part, Mr. Jordan merely repeats his arguments that there is no legal

basis for his conviction because the statute at issue was not intended to cover his actions

and because Title 21 “was never enacted into positive law.” The main issue in the

court’s resolution of Mr. Jordan’s § 2255 motion was whether to enforce the waiver; the

arguments Mr. Jordan makes in his motion to reconsider do not address that point and

are thus irrelevant.

       Mr. Jordan has, however, recharacterized or clarified one of his arguments. In his

§ 2255 motion, Mr. Jordan asserted that his attorney was ineffective for failing to argue

that the statute did not apply to his actions—conspiring to rob a fictitious stash house of

drugs that never existed. He now has tied that argument directly and explicitly to the

issue of whether his waiver was knowing and voluntarily. Specifically, he suggests that

the waiver was unknowing because he would not have signed it if his attorney had told

him that there was even a de minimus possibility that the statute was not designed to

punish his conduct.

       The failure of Mr. Jordan’s attorney to discuss this argument with him does not

render his waiver unknowing. See, e.g., United States v. Ruiz, 536 U.S. 622, 629 (2002)

(“[T]he law ordinarily considers a waiver knowing, intelligent, and sufficiently aware

if the defendant fully understands the nature of the right and how it would likely apply

in general in the circumstances–even though the defendant may not know the specific

                                            2
  Case 2:08-cr-20117-JWL         Document 142        Filed 06/03/11   Page 3 of 3




detailed consequences of invoking it.”) (emphasis in original). Moreover, the argument

itself is substantively flawed, see United States v. Roberts, 14 F.3d 502, 510 (10th Cir.

1993) (legal impossibility not a defense to conspiracy); United States v. Rodriguez, 360

F.3d 949, 957 (9th Cir. 2004) (“[T]he non-existent status of the target drug traffickers

is inapposite. Impossibility is not a defense to the conspiracy charge.”), and so Mr.

Jordan’s attorney was under no obligation to raise it.

       Even construing Mr. Jordan’s motion liberally, the court can find no reason to

reconsider its prior order enforcing the waiver in the plea agreement. Moreover, Mr.

Jordan has not made a substantial showing of the denial of a constitutional right. The

court therefore again denies a certificate of appealability.




       IT IS THEREFORE ORDERED BY THE COURT that Defendant’s motion

to reconsider (doc. 135) is denied.



       IT IS SO ORDERED this 3rd day of June, 2011.


                                      s/ John W. Lungstrum
                                      John W. Lungstrum
                                      United States District Judge




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